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                             UNITED STATES bISTRICT COURT
                             SOIJTHERN DISTRICT OF FLORIDA

    CaseNo.                                        -CV-
                                                             (Judge'sLastNameN agistrate'sLastName)
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    EstateofCherish Pnnkey.by
    theoersonalrepresentative fortheEstate.
    RobbiealTerrv-Brown
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            Plaintiffts)                                                       ggg gj 2g22
    v s.                                                               .       jtïypLutyE llk?tEt
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.           CnrnivalCruiseLines                                                -.DOFq .'MI
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           Defendantts).
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                                              Com plaint

    1, Robbieal Terrp Browm the personal representative for the Estate of Chedsh Pankey.

    rplaintiffl.in theabovestyled Cause.On December9.2021.Cherish Prmkevs25vearsofageat
    thetim e.boarded acarnival%M îracleCruiseVessel''along w1t11herboygiçnd and lliscousin on

    a three-day cruise to Ensenadm M exico.Itis alleaed bv other pmssengers on board the vessel.

    including the boyfriend's cousim in addition 'to an elevator video whem Cherish and her

    boygiendèatlbeseen mxuina.An elevatorvideo captured bv theboyfriend'scousin showed that
               :
    on December 10.2021.Cherish wasarguing w1111herboyfriend throughoutvariousareas ofthe

    vesseland the comedy dub.W ithoutintervention 9om Carnival.Tllisleadsintotherlight.where
    she Sghts and s% ggles in her stateroom with herboyG end before falling âom her tm h-floor
Case 1:22-cv-24004-BB Document 1 Entered on FLSD Docket 12/09/2022 Page 2 of 6




stateroom balconv-the earlv m orninz ofDecember 11.2021.A fallthatCnrnivalCruise Lines
                                              l

hadnotcaptmednorwasawareof.CoupledO tIithedelay onthebovfriend'sparttoseek help.
W hen Carnivalbecame aware nfsuch fallhm and started theirsearch and checked thecam ermsto

verifvthefall.CarnivalcontactedtheUrlited StatesCoastGuardforsearch andrescueeforts.A
tht
  'rty-m inutewindow orm ore had pmssed.leading the Urlited States CoastGuard on a frivolous

search and rescue effort.I was inform ed that the video didn't show how she went over the

balcony or how she landeds olzlv the assumption after. Search and rescue attem pts were

exhausting.* 111no luck findincher.




                          Respectfully subm itted,

Date: December8.2022.

                                               EstateofCherish Pankey,by
                                              thepersonalrepresentativefortheEstate.
                                              RobbiealTeny-Brown

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